Case 1:25-cv-00378-RGA   Document 1-3   Filed 03/27/25   Page 1 of 7 PageID #: 47




                              EXHIBIT C
                          Case 1:25-cv-00378-RGA                    Document 1-3             Filed 03/27/25            Page 2 of 7 PageID #: 48




                                           VOYAGER RENTAL CONTRACT

This Voyager Rental Contract is issued by Villa Vie Residences Incorporated (VVRI) a company incorporated in the State of
Delaware, USA whose registered office is located at # 700 -3422 Old Capital Trail, PMB 1461 Wilmington, DE 19808.



Whereby, VVRI wishes to sell, and the Voyager(s) wishes to occupy, a Villa on board VVRI Ship #1 with projected departure date of
May 15, 2024 under the following terms & conditions:




 VOYAGER DETAILS:


 Voyager #1: (Full Name)                                                                                                            Jenny Phenix



 Voyager #2: (Full Name)                                                                                                                   N/A
 (if applicable)



 Address                                                                                         1261 Gondola Ct, Boynton Beach, FL, 33426, United States




 Founders Club Membership                                                                   None



 Voyager Occupancy Status                                                                   Single



 Villa Type                                                                                 Inside



 Villa Assigned                                                                             3127




                                                       This document is signed using GetAccept Digital Signature Technology.
                  Fingerprint: 61d70a7a91a4bff8ce6a167a47695cfef892fb801359a1d8d6550886231c1a04ad92d5292210e50c5512edfac3d7d91bff4980c96e30e77f0ea5e9a157ab24fd
                            Case 1:25-cv-00378-RGA                    Document 1-3             Filed 03/27/25            Page 3 of 7 PageID #: 49



VOYAGER SEGMENT COMMITMENT


Voyager would like to purchase: 134 days                     to include the following Segments on CN#1

1-Northern Europe, 2- Greenland, Canada, New England


      Residence Fees Total:
      Early Bird discount applied:              0
      FC Membership level discount applied:                      0%
      SOLO discount:    30%
      Total Discount Amount:

________________________________________________________________________________________________

TOTAL VOYAGER FEES:     $16, 750   (Including all applicable discounts)
TOTAL DEPOSIT DUE:      $16,750
DEPOSIT DUE DATE:      Immediately
FIRST SEGMENT FEES DUE DATE: 90 days before departure


In consideration of the receipt of the cruise fare and/or boarding and lodging on the vessel, the booking of the circumnavigation
and travel with VVR are subject to the terms and conditions as detailed on this web page: https://villavieresidences.com/terms-and-
conditions/



    I have read and agree to the Terms and Conditions as detailed here (https://villavieresidences.com/terms-and-conditions/)




SPECIAL CONDITIONS:

 Segments Payment is due in full 90 days prior to embarkation.




Authorized by VVR Executive




                                                                                                        Kathy Villalba
 Jenny Phenix                                                                                   Villa Vie Residences
 4/24/2024                                                                                      Villa Vie Residences INC
                                                                                                4/15/2024




                                                         This document is signed using GetAccept Digital Signature Technology.
                    Fingerprint: 61d70a7a91a4bff8ce6a167a47695cfef892fb801359a1d8d6550886231c1a04ad92d5292210e50c5512edfac3d7d91bff4980c96e30e77f0ea5e9a157ab24fd
                            Case 1:25-cv-00378-RGA                    Document 1-3             Filed 03/27/25            Page 4 of 7 PageID #: 50




Other Voyagers in Villa (Minors) where applicable:




                                                         This document is signed using GetAccept Digital Signature Technology.
                    Fingerprint: 61d70a7a91a4bff8ce6a167a47695cfef892fb801359a1d8d6550886231c1a04ad92d5292210e50c5512edfac3d7d91bff4980c96e30e77f0ea5e9a157ab24fd
Case 1:25-cv-00378-RGA                        Document 1-3                  Filed 03/27/25                Page 5 of 7 PageID #: 51


                                       Signature Certificate
                                                              Document name:
                                                      VVR Rental Agreement
                                                           Unique document ID:
                                                    fb85626b-e674-4f0c-8f96-b63861caabd5

                                                          Document fingerprint:
                      61d70a7a91a4bff8ce6a167a47695cfef892fb801359a1d8d6550886231c1a04ad92d5292210e50c5512e
                                            dfac3d7d91bff4980c96e30e77f0ea5e9a157ab24fd



 Signatories


               Jenny Phenix                                                                           Trusted timestamp:
                                                                                                      2024-04-24 20:30:09 UTC
               Email: jennypfam@yahoo.com
               Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64
                        (desktop)
               IP number: 2.59.157.100




                                                                                                      Verified with login
               Villa Vie Residences                                                                   Trusted timestamp:
               COO
                                                                                                      2024-04-14 23:41:46 UTC
               Villa Vie Residences INC

               Email: contracts@villavieresidences.com
               Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7                                             Kathy Villalba
                       (desktop)
               IP number:



                                          This document was completed by all parties on:
                                                         2024-04-24 20:30:09 UTC

 Accepted consent

  By accessing this document I approve that certain personal data will be processed by GetAccept and Villa Vie Residences such as my name,
  email as well as unstructured personal data such as IP-address and usage behaviour. For more information - check out our privacy policy




                                     This document is signed using GetAccept Digital Signature Technology.
                         This Signature Certificate provides all signatures connected to this document and the audit log.
Case 1:25-cv-00378-RGA                    Document 1-3                  Filed 03/27/25                Page 6 of 7 PageID #: 52


                                                      Audit log
 Trusted timestamp                     Event with collected audit data
 2024-04-24 20:30:09 UTC               Document was signed by Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 2.59.157.100 - IP Location: Miami, United States

 2024-04-24 20:29:49 UTC               Document was verified via partial signature by Jenny Phenix
                                       (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 2.59.157.100 - IP Location: Miami, United States

 2024-04-24 20:29:48 UTC               Document was verified via handwritten signature by Jenny Phenix
                                       (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 2.59.157.100 - IP Location: Miami, United States

 2024-04-24 17:39:21 UTC               Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)
                                       IP number: 97.96.63.63 - IP Location: Parrish, United States

 2024-04-15 00:55:00 UTC               Document was reviewed by Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 179.49.53.235 - IP Location: Manta, Ecuador

 2024-04-15 00:52:37 UTC               Document was verified via consent by Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 179.49.53.235 - IP Location: Manta, Ecuador

 2024-04-15 00:52:37 UTC               Document was opened by Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 179.49.53.235 - IP Location: Manta, Ecuador

 2024-04-15 00:52:34 UTC               Document was verified via consent by Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 122.0.0.0 on Unknown ChromeOS x86_64 (computer)
                                       IP number: 179.49.53.235 - IP Location: Manta, Ecuador

 2024-04-14 23:42:00 UTC               Document was sent to Jenny Phenix (jennypfam@yahoo.com)
                                       Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)
                                       IP number: 97.96.63.63 - IP Location: Parrish, United States

 2024-04-14 23:41:55 UTC               Document was sealed by Villa Vie Residences (contracts@villavieresidences.com)
                                       Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)
                                       IP number: 97.96.63.63 - IP Location: Parrish, United States

 2024-04-14 23:41:46 UTC               Document was signed by Villa Vie Residences (contracts@villavieresidences.com)
                                       Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)

 2024-04-14 23:41:45 UTC               Document was verified via partial signature by Villa Vie Residences
                                       (contracts@villavieresidences.com)
                                       Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)




                                 This document is signed using GetAccept Digital Signature Technology.
                     This Signature Certificate provides all signatures connected to this document and the audit log.
Case 1:25-cv-00378-RGA                   Document 1-3                  Filed 03/27/25                Page 7 of 7 PageID #: 53
 2024-04-14 23:41:45 UTC              Document was verified via handwritten signature by Villa Vie Residences
                                      (contracts@villavieresidences.com)
                                      Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)

 2024-04-14 23:39:24 UTC              Document was verified via handwritten signature by Villa Vie Residences
                                      (contracts@villavieresidences.com)
                                      Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)
                                      IP number: 97.96.63.63 - IP Location: Parrish, United States

 2024-04-14 23:39:23 UTC              Document was created by Villa Vie Residences
                                      (contracts@villavieresidences.com)
                                      Device: Chrome 123.0.0.0 on Unknown macOS 10.15.7 (computer)
                                      IP number: 97.96.63.63 - IP Location: Parrish, United States




                                This document is signed using GetAccept Digital Signature Technology.
                    This Signature Certificate provides all signatures connected to this document and the audit log.
